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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


EUGENE NYAMBAL,
Plaintiff,
v.                                                            Case No.: 1:14-cv-01904 (EGS)


ALLIED BARTON SECURITY
SERVICES, LLC.

Defendant.


         MOTION TO WITHDRAW APPEARANCE OF MOHAIMINA HAQUE, ESQ.
 AND J. NELSON HAPPY, ESQ. AS ATTORNEYS FOR PLAINTIFF EUGENE NYAMBAL


        COMES NOW counsel for the Plaintiff, Mohaimina Haque, Esq., and J. Nelson Happy

Esq., on this 27th day of July, 2022, and hereby moves the court for an order allowing them to

withdraw as counsel for Plaintiff Eugene Nyambal.

        1. Plaintiff Eugene Nyambal and the undersigned counsel have mutually agreed that
counsel should withdraw as attorneys for Plaintiff. Therefore, counsel is hereby seeking leave of
court to withdraw from further representation of Plaintiff.
        2. Plaintiff Eugene Nyambal has been notified of the undersigned counsel’s intent
withdraw and has consented thereto.
        3. No new counsel has been retained.
        4. Defendant’s counsel has been notified of counsel’s intent to file this motion.
        Accordingly, the undersigned moves the court for order allowing the immediate
withdrawal of Mohaimina Haque, Esq. and J. Nelson Happy, Esq. as counsel for Plaintiff
Eugene Nyambal.
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                                                Respectfully submitted,


                                                By: /s/ Mohaimina Haque
                                                Mohaimina Haque, Esq.,
                                                DC # 1644522

                                                /s/ J. Nelson Happy
                                                J. Nelson Happy, Esq.
                                                DC# #435987

Attorneys for Plaintiff Eugene Nyambal
Law Office of Mohaimina Haque, PLLC
1629 K Street, NW, Suite 300
Washington, D.C. 20006
Email: mina@attorneymina.com
Tel: 202-355-6384


                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on the 27th day of July, 2022 a copy of the foregoing Motion
to Withdraw was mailed postage first class, and electronically served via email to:
Edward C. Bacon
Bacon, Thornton &amp; Palmer, LLP
6411 Ivy Lane, Suite 500
Greenbelt, MD 20770
ebacon@lawbtp.com
(Attorneys for Defendant AlliedBarton
Security Services. LLP)

Eugene Nyambal
C/o Christine TAMBI
9861 Good Luck Road, Appt. 2
Lanham, MD 20706
Email: enyambal@yahoo.com

/s/ J. Nelson Happy
J. Nelson Happy
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                                       (Proposed Order)


                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

EUGENE NYAMBAL,
Plaintiff,
v.                                                         Case No.: 1:14-cv-01904 (EGS)


ALLIED BARTON SECURITY
SERVICES, LLC.


Defendant.


                                            ORDER
        Upon consideration of the motion filed by Mohaimina Haque and J. Nelson Happy for

leave to immediately withdraw as counsel for Plaintiff Eugene Nyambal, it is this ___ day of

_______, 2022, hereby:

        ORDERED, that the motion is GRANTED and Mohaimina Haque and J. Nelson Happy

are hereby granted leave to withdraw immediately as counsel for Plaintiff Eugene Nyambal.

                             ___________________________

                             Emmet G. Sullivan, Senior Judge
                             U.S. District Court for the District of Columbia

        Copies to:
        Edward C. Bacon, Esq.
        Bacon, Thornton & Palmer, LLP.
        6411 Ivy Lane, Suite 500
        Capitol Office Park,
        Greenbelt, MD 20770
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